     Case 06-90460-JM        Filed 08/16/07     Entered 08/16/07 14:25:19         Doc 19     Pg. 1 of 2



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     NAOMI DYE-CHEN
 7

 8
                              UNITED STATES BANKRUPTCY COURT
 9
                               SOUTHERN DISTRICT OF CALIFORNIA
10

11
     In re                              )                 Case No. 06-2200-M7
12                                      )
     NAOMI DYE-CHEN ,                   )                 ADV. No. 06-90460-JM
13                                      )
                                        )                 STIPULATION TO CONTINUE
14
                                        )                 PRE-TRIAL STATUS CONFERENCE
15                      Debtor(s)       )
     ___________________________________)
16   SCOTT M. FOREMAN,                  )                 Old Date:       8/17/2007
                                        )                 Time:           10:00 a.m.
17
                Plaintiff,              )                 Dept:           1
18   v.                                 )
                                        )                 New Date:       10/12/2007
19   NAOMI CHEN,                        )                 Time:           10:00 a.m.
20
                                        )                 Dept:           1
                Defendant.              )
21   ___________________________________)
22                                                 RECITALS
23
             The complaint in this matter was filed on November 17, 2006. Defendant filed her
24
     answer on December 17, 2006. An amended complaint was filed on June 25, 2007 and
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26   Defendant’s answer was filed on July 20, 2007. The parties participated in mediation on

27   August 8, 2007, but while they were not able to settle the matter they did arrive at a partial
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     agreement that they would like to continue working on to resolve all matters in this case. The



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     Case 06-90460-JM         Filed 08/16/07      Entered 08/16/07 14:25:19          Doc 19     Pg. 2 of 2



 1   parties agree it is in the best interests of all parties and the court to continue this hearing in order
 2
     to continue efforts to complete a settlement. There have been no prior continuances of the
 3
     status conference.
 4

 5                                             STIPULATION

 6   IT IS HEREBY STIPULATED BY AND BETWEEN THE PARTIES HERETO:
 7
            The parties request this pretrial status conference be continued to October 12, 2007 at
 8
     10:00 a.m. or as soon thereafter as the court may deem appropriate.
 9

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11                                                  SOLOMON, GRINDLE, SILVERMAN
                                                    & SPINELLA
12

13
     Dated: August 16, 2007                         /s/ Pamela La Bruyere_____
14                                                  By: Pamela LaBruyere, Esq.
                                                    Attorneys for Plaintiff
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16
     Dated: August 16, 2007                         /s/ Judith A. Descalso_____
17                                                  Judith A. Descalso
                                                    Attorney for Defendant
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